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TIHE TIF"S

There are many things to consider when purchasing new tires and after you have purchased a set already.
Our tire tips give you insight into items to consider when making your decision.

Tire Charts _ _ _ _ _ 1
m Front and Rear Tlre Matching Load-Car[ying Capabilities
['_JVTJM_“____ Maintaining Clearance Rim Size
l Reolsfer Tlres M Tire installation {see also Tlre Niounting)

| Glossary - .
Tlre Pressuresjsee also Tlre l Mimm m_|_r a De th
Mountlng}

Speed Ratings DynamometerTesting
Run-in Pericd Tire Repair
M_Qalp_siir M 'fl i n mmcv.de_llitaioten.ao§e
Wh a n Wh§§l A|ignment
§M Wheel inspection
4 Tube-Type Rims Sidewa|l Treatment
Tire Storage Precautions . Temperature
Sunlight M
Oi| and Gasoline lire |Vlgugging
Dual»SQort On-IOff-Road Tires MQMMMM

Motorcycle Tubeless Tlre Repair m lmportance of Motorcyc|e Tire inflation Maintenance & Load
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Dunlop Safety AdViSUi'y

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As the world leader in motorcycle tires, Dunlop continues to be concerned about the lack of attention paid
by many cyclists to proper use and maintenance of their tires, particularly when fitted to motorcycles
intended for touring.

Dun|op technical personnel have attended touring rallies all over North Arnerica to collect vital data and
give instructional seminars.

What we have observed at these rallies alarms us; many touring riders are not following proper tire
maintenance procedures

The requirements for propertire usage are not complicated, but they do require consistent attention.

Owners and operators of motorcycles should closely monitor vehicle loadings to insure they are within the
maximum loads and corresponding inflation pressures for their tires. This basic load and pressure
information is clearly stamped on the tire sidewalls.

The tire does not support the load-the air pressure dces. The manufacturers ratings for the maximum
load and inflation pressure are critical tire design elements. lf not observed, the handling and performance

 

 

of your motorcycle will be greatly affected

We have checked inflation pressures at several touring rallies and found a high percentage of rear tires to
be underinflated. ln addition, weight checks of the rear axles of these motorcycles indicated a number of
tires were loaded beyond maximum capacity

Our inspections have not been limited to those cycles fitted with Dunlop tires; the situation exists for all
brands of tires.

Regardless of the make of tire, this is a serious problem Riders of motorcycles with signihcantly
underinf|ated and overloaded tires will experience handling and steering difticu|ty, ln addition. this abuse
will result in disappointing premature tire wear and may cause catastrophictire failurel

The addition of accessories, cargo. and dual riding to touring motorcycles aggravates the problems of
overloading and underinf|ation. The excessive flexing that results from underintlation or overload causes
buiidup of internal heat, fatigue cracking and eventual carcass breakup resulting in complete failure A
consequence of such failure may be an accidentwith serious personal injury or death

The appearance of stress cracks in the tread grooves is one indicator of overload and/or underintlation. if
you find evidence of tread groove cracking, you should remove and replace the tire immediately This
damage is permanent and non-repairab|e.

Our inspection of tires of various style and manufacture at rallies and our subsequent testing have
confirmed that underintlation (andfor excessive load) causes tread groove cracking and can result in more
serious damage within the tire body Uneven wear may also accompany underinflated use. Failure to heed
these visual warnings can result in tire failure or blowout.

The use ot trailers can also contribute to tire damage and touring motorcycle instability_ Although most
motorcycle manufacturers recommend against their use, a percentage of the motorcycles we have
inspected were so equipped The trailer tongue weight added to an already heavily laden motorcycle can
fail a rear tire The percentage of overloaded motorcycle rear tires found during our inspection would have
been higher if trailer tongue weight had been considered The forces of rapid acceleration and
dece|eration may also multiply the effects of trailertongue weight

To get the maximum safe use out of your tires and maximum touring enjoyment you should :

1. Properly maintain all aspects of your vehicle in accordance with manufacturer‘s recommendations
Read and reread your motorcycle owner's manual.

2. Never exceed the loading and accessories restrictions found in your motorcycle owner's manua|, or
the maximum load displayed on the tire sidewa|ls. Know your loaded vehicle weightl

3. Check air pressure at frequent, regular intervalsl particularlyjust before and during long trips.
A|ways use an accurate tire gauge* and check pressures only when the tires are cold (i,e., wait one
hour after running). We have found many cheap gauges to be off more than 5 psi, so be sure to
use a top quality gauge and preferably one that retains the pressure reading until reset!

4. inspect your tires as often as possible Look for irregular wear, any signs of cracking in the
sidewa||s and tread, blisters, knots, cuts or punctures. |mmediately remove and replace damaged
tires.

|f in doubt, ask your motorcycle tire dealer to check your loading, inflation and tires Remember, your tires
stand between you and a serious accident

Fortouring motorcycle loading, follow these general guidelines:

A. Light loads-single rider with some luggage (up to 200 |b. total)-minimum tire pressure of 32 psi front

and 36 psi rear must be maintained
B. Heavier loads-dual riding and/or luggage (from 200 lb. total up to maximum motorcycle capacity
stated in the owner's manua|)-pressure of 36 psi front and 40 psi rear must be maintained

Please Note:
For any dual riding orfu|ly loaded use, 40 psi must be maintained in a|| Dunlop rear tires fitted to touring

motorcycles

|n addition to following these recommendations notice what your tires are telling you while you're riding. lf
your steering response is slow or rnushy1 or if cornering and braking response is heavy, there's a good
chance your tires are underinflated. Vibration or wobb|e may signal that actual tire damage has occurred

and failure is imminent!

|f you conscientiously follow our recommendationsl you will enjoy better, longer, and safer tire
performance and many, many miles of toun`ng pleasure

Top of Page

Back to [nformation Center

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